Meghan Claiborne

From:                             Shannon Zabel
Sent:                             Monday, December 14, 2020 6:27 PM
To:                               Thomas Malone
Cc:                               Chris McInerney
Subject:                          RE: Discovery/Other depositions
Attachments:                      Wexler - Hawkins Use of Force.pdf


Tom, attached is the Use of Force report filled out by PO Hawkins, as well as the accompanying paperwork.

The correct Officer O’Reilly is Timothy O’Reilly, Badge #1111. He is available this Thursday, 12/17 and I can see if we
can get PO Hawkins then, too, and finish her deposition.

Let me get back to you on dates for Cpl. Keenan and Det. Koenig. I think they will have to be some time after the
holidays.

As you mentioned, please get back to me with discovery responses and dates for your client’s deposition. I will be taking
leave in mid-late January so I’d like to get all of these depositions done before then, if possible.

Let me know about Thursday as soon as possible if you want to depose PO O’Reilly/PO Hawkins then.

Thanks,

Shannon Zabel
Assistant City Solicitor
City of Philadelphia Law Department
Civil Rights Unit
1515 Arch Street, 14th Floor
Philadelphia, PA 19102
215-683-5114

From: Thomas Malone [mailto:tmalone@themalonefirm.com]
Sent: Thursday, December 10, 2020 3:28 PM
To: Shannon Zabel <Shannon.Zabel@Phila.gov>
Cc: Chris McInerney <cmcinerney@themalonefirm.com>
Subject: Discovery/Other depositions

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attachments unless you recognize the sender.

Shannon,

I am writing regarding the Wexler case. We will soon have you the discovery responses and available dates for Ms.
Wexler's Zoom deposition.

Please get me available dates for the depositions of Officer Timothy O'Reilly, Badge #1111 and Officer Joseph O'Reilly,
Badge #9980. Unless I hear from you regarding which O'Reilly was at scene of this incident, my intention is to depose
both of them. Also - please get me available dates for the depositions of Cpl. Keenan and Detective Koenig (both should
be short and can hopefully be completed on the same day). Under separate cover, I will send additional interrogatories
including interrogatories regarding the "Use of Force" report Officer Hawkins completed, which should have already been


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disclosed if she is telling the truth about having completed one, and the names of the assigned Supervisors and Internal
Affairs staff assigned to this Use of Force incident.

Thanks in advance.



Best,
Tom


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